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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


           In re:                                                                   Chapter 11

           AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                                Debtors. 1                          (Jointly Administered)


                                                    AFFIDAVIT OF SERVICE

                  I, Dylan P. Dickerson, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On November 2, 2023, at my direction and under my supervision, employees of Stretto
           caused the following document to be served via overnight mail on the service list attached hereto
           as Exhibit A and via electronic mail on the service list attached hereto as Exhibit B:

                •    Notice of Agenda for Hearing on November 6, 2023 at 10:00 A.M. (Prevailing
                     Eastern Time) Before the Honorable Thomas M. Horan in the U.S. Bankruptcy
                     Court for the District of Delaware (Docket No. 666)

                   Furthermore, on November 2, 2023, at my direction and under my supervision, employees
           of Stretto caused the following documents to be served via first-class mail on the service list
           attached hereto as Exhibit C and via electronic mail on the service list attached hereto as
           Exhibit D:

                •    Order (I) Further Extending the Deadline by Which the Debtors May Remove
                     Certain Actions and (II) Granting Related Relief (Docket No. 668)




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           1
                A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
                proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
                principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
                100, Emeryville, CA 94608.




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                •    Debtors’ Motion for Entry of an Order (I) Authorizing the Abandonment of
                     Inventory and (II) Granting Related Relief (Docket No. 672)


                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           documents via electronic service.


           Dated: November 9, 2023                                        _____________________________
                                                                                  Dylan P. Dickerson
           State of Colorado            )
                                        ) SS.
           County of Denver             )

           Subscribed and sworn before me this 9th day of November 2023 by Dylan P. Dickerson.


           _____________________________
              (Notary’s official signature)




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                                                Exhibit A




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                                                                                             Exhibit A
                                                                                        Served via Overnight Mail


                        Name                          Attention                                 Address 1                            Address 2                        City        State      Zip      Country
  Allog Participacoes Ltda             Attn: Rodrigo Portes                  333 A5 SL503                               Rua Doutor Pedro Ferreira             CItajal            SC     88301      Brazil
  ANESMA GROUP LLC                     ATTN: LEGAL DEPT.                     1180 SAN CARLOS AVENUE #717                                                      SAN CARLOS         CA     94070
  Anesma Group LLC                     Goodwin Procter LLP                   3 Embarcadero Center 28th floor                                                  San Francisco      CA     94111
  Anjo Ventures LLC                    Attn: Legal Dept                      1180 San Carlos Avenue #717                                                      San Carlos         CA     94070
  Anjo Ventures LLC                    Goodwin Procter LLP                   3 Embarcadero Center 28th floor                                                  San Francisco      CA     94111
  ANVISA                               Attn: Legal Department                5402 Sia Trecho 5 Área Especial 57                                               Brasilia           FD     70000-000  Brazil
  BEIJING JIANXUN MEDICAL SCI & TECH   Attn: Legal Department                Bei Jing Shi                                                                     Tong Zhou Qu              101100     China
  BIORIUS                              Attn: Legal Department                Avenue Leonard de Vinci 14                                                       Wavre                     1300       Belgium
  BIORIUS                              Attn: Legal Department                Shelton Street                                                                   London                    71WC2H 9JQ UK
  C T CORPORATION SYSTEM               AS REPRESENTATIVE                     330 N BRAND BLVD SUITE 700                 ATTN: SPRS                            GLENDALE           CA     91203
  Cosan U.S. Inc.                      Attn: Lineu Paulo Moran Filho         2711 Centerville Road                      Ste 400                               New Castle         DE     19808
  Crestmark Equipment Finance Inc.     Attn: Legal Department                5480 Corporate Drive                       Ste 350                               Troy               MI     48098
  Crestmark Equipment Finance Inc      Attn: Legal Dept.                     40950 Woodward Avenue Suite 201                                                  Bloomfield Hills   MI     48304
  CTNBIO                               Attn: Legal Department                South Police Sector Area 5 Block 3         Block B Ground Floor. Room T-08       Brasilia           FD     70610-200  Brazil
  DATA SALES CO. INC.                  ATTN: LEGAL DEPT.                     3450 W. BURNSVILLE PARKWAY                                                       BURNSVILLE         MN     55337
  DE LAGE LANDEN FINANCIAL SERVICES    ATTN: LEGAL DEPT.                     1111 OLD EAGLE SCHOOL ROAD                                                       WAYNE              PA     19087
  DEA                                  Attn: Legal Department                8701 Morrissette Drive                                                           Springfield        VA     22152
  Delaware State Treasury              ATTN: LEGAL DEPT.                     820 Silver Lake Blvd. Suite 100                                                  Dover              DE     19904
  Department of Agriculture            Attn: Legal Department                1400 Independence Ave. S.W.                                                      Washington         DC     20250
  DSM FINANCE B.V.                     Attn: Michael Wahl and Vivian Huang   HET OVERLOON 1                                                                   HEERLEN            NL     6411TE     Netherlands
  DSM Finance B.V.                     Latham & Watkins LLP                  330 North Wabash Avenue Suite 3800                                               Chicago            IL     60611
  DTS                                  Attn: Legal Department                U 5 2 Pittwin Rd                                                                 North Capalaba            4157       Australia
  ECHA                                 Attn: Legal Department                PO Box 400                                                                       Helsinki                  FI-00121   Finland
  EFSA                                 Attn: Legal Department                Via Carlo Magno 1A                                                               Parma                     43126      Italy
  Employment Development Dept          Attn: Legal Dept                      PO Box 826880                                                                    Sacramento         CA     94280
  Environment Canada                   Attn: Legal Department                105 Mcgill St                              4th Fl                                Montreal           QC     H2Y 2E7    Canada
  EPA                                  Attn: Legal Department                1200 Pennsylvania Avenue N.W.                                                    Washington         DC     20460
  Eplus Technology Inc                 Attn: Legal Dept.                     13595 Dulles Technology Drive                                                    Herndon            VA     20171
  FDA                                  Attn: Legal Department                10903 New Hampshire Avenue                                                       Silver Spring      MD     20993
  Food Science Solutions               Attn: Legal Dept.                     28 Geneva Ave                                                                    Toronto            ON     M5A 2J8    Canada
  Foris Prepetition and DIP Parties    c/o Goodwin Procter LLP               620 Eighth Avenue                          Goldstein Nicas Skorostensky Rosenf   New York           NY     10018
  Foris Prepetition and DIP Parties    Troutman Pepper Hamilton Sanders      PO Box 1709                                Attn: D Fournier K Listwalk           Wilmington         DE     19899-1709
  Foris Ventures LLC                   Attn: Legal Dept                      1180 San Carlos Avenue #717                                                      San Carlos         CA     94070
  Foris Ventures LLC                   Goodwin Procter LLP                   3 Embarcadero Center 28th floor                                                  San Francisco      CA     94111
  FORIS VENTURES LLC AS AGENT          ATTN: LEGAL DEPT.                     751 LAUREL STREET #717                                                           SAN CARLOS         CA     94070
  GACP FINANCE CO. LLC AS AGENT        ATTN: LEGAL DEPT.                     11100 SANTA MONICA BLVD. SUITE 800                                               LOS ANGELES        CA     90025
  Health Canada                        Attn: Legal Department                Address Locator 1801B                                                            Ottawa             ON     K1A 0K9    Canada
  Hearst Magazine Media Inc.           Attn: Nathaniel Boyer                 300 W. 57th Street                                                               New York           NY     10019
  HILLDUN CORPORATION                  ATTN: LEGAL DEPT.                     36 E. 31st St 12th Floor                                                         NEW YORK           NY     10016
  Internal Revenue Service             ATTN: LEGAL DEPT.                     P.O. Box 7346                                                                    Philadelphia       PA     19101-7346
  INTERTEK                             Attn: Legal Department                200 Westlake Park Blvd                     Ste 400                               Houston            TX     77079
  INTERTEK                             Attn: Legal Department                33 Cavendish Sq                                                                  London                    W1G 0PS    UK
  INTERTEK                             Attn: Legal Department                Longang District No 3 Building Yua         No 4012                               Shenzhen           GD     518100     China
  KNOELL SHANGHAI                      Attn: Legal Department                No. 567 Langao Road                        Room 805 Tower B Central Towers       Putuo              SH     200333     China
  LAVVAN INC.                          ATTN: LEGAL DEPT.                     434 WEST 33RD STREET                                                             NEW YORK           NY     10001
  Muirisc LLC                          Attn: Legal Dept                      1180 San Carlos Avenue #717                                                      San Carlos         CA     94070
  Muirisc LLC                          Goodwin Procter LLP                   3 Embarcadero Center 28th floor                                                  San Francisco      CA     94111
  NAXYRIS S.A.                         ATTN: LEGAL DEPT.                     40 BOULEVARD JOSEPH II                                                           LUXEMBOURG         LU     L1840      Luxembourg
  NIKKO CHEMICALS CO. LTD.             ATTN: LEGAL DEPT.                     1-4-8 NIHONBASHI-BAKUROCHO CHUO-KU                                               TOKYO                     1030002    JP
  OBELIS                               Attn: Legal Department                Boulevard Brand Whitlock 30                                                      Brussels                  1200       Belgium
  OBELIS                               Attn: Legal Department                Sandford Gate E Point Business Park                                              Oxford                    OX4 6LB    UK
  Official Committee Unsec Creditors   c/o White & Case LLP                  1221 Avenue of the Americas                Attn: John Ramirez & Andrea Kropp     New York           NY     10020
  PEAK LLC AS REPRESENTATIVE           ATTN: LEGAL DEPT.                     170 WEST SHIRLEY AVENUE SUITE 207                                                WARRENTON          VA     20186
  PENMAN CONSULTING BVBA               Attn: Legal Department                Avenue des Arts 10                                                               Brussels                  1210       Belgium
  PENMAN CONSULTING LIMITED            Attn: Legal Department                Grove Business Park Aspect House           Wayland Ave                           Wantage                   OX12 9FF   UK
  PERRARA VENTURES LLC                 ATTN: Barbara Hager                   1180 SAN CARLOS AVE. #717                                                        SAN CARLOS         CA     94070
  Perrara Ventures LLC                 Goodwin Procter LLP                   3 Embarcadero Center28th floor             Attention: Jon Novotny                San Francisco      CA     94111
In re: Amyris, Inc., et al.
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                                                                                               Exhibit A
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                        Name                            Attention                              Address 1                                 Address 2                    City      State        Zip       Country
  REGULATORY CONCEPTS                   Attn: Legal Department              9-7 Anella Ave                                                                     Castle Hill              2154         Australia
  Sartorius Stedim North America Inc.   Attn: Matthew Lessler               565 Johnson Ave                                                                    Bohemia          NY      11746
  SCHOTTENFELD OPPORTUNITIES FUND II    ATTN: LEGAL DEPT.                   600 3rd Ave Fl 10                                                                  New York         NY      10016-1923
  Secretary of State                    Division of Corporations            P.O. Box 898                                 Franchise Tax                         Dover            DE      19903
  Securities & Exchange Commission      ATTN: LEGAL DEPT.                   100 F Street NE                                                                    Washington       DC      20549
  Securities and Exchange Commission    New York Regional Office            100 Pearl Street                             Attn: Mark Berger Regional Director   New York         NY      10004-2616
  Securities and Exchange Commission    New York Regional Office            200 Vesey Street Suite 400                   Attn: Mark Berger Regional Director   New York         NY      10281-1022
  THE ROBERTS CONTAINER CORPORATION     ATTN: LEGAL DEPT.                   9131 OAKDALE AVE SUITE 110                                                         CHATSWORTH       CA      91311
  TSG                                   Attn: Legal Department              175 Nugget Court                             Unit 6-8                              Brampton         ON      L6T 5H4      Canada
  U.S. Bank NA                          Trustee of the Convertible Notes    633 West Fifth Street 24th Floor                                                   Los Angeles      CA      90071
  US Attorney for the District of DE    Attn: Legal Dept.                   1313 N Market Street, Hercules Bldg                                                Wilmington       DE      19801
  US Attorney’s Office for DE           Attn: David C. Weiss                1007 Orange Street Suite 700                 c/o/ Ellen Slights                    Wilmington       DE      19899-2046
  US Bank NA as Trustee for Convert.    Attn: Jennifer Wall                 190 S La Salle St                                                                  Chicago          IL      60603
  US Bank NA as Trustee for Convert.    Attn: Justin L. Shearer             100 Wall St                                  Ste 600                               New York         NY      10005
  UST of Delaware                       Attn: John Henry Schanne II         844 King Street Suite 2207                   Lockbox #35                           Wilmington       DE      19801
  VARILEASE FINANCE INC.                ATTN: LEGAL DEPT.                   6340 SOUTH 3000 EAST SUITE 400                                                     SALT LAKE CITY   UT      84121
  WELLS FARGO BANK N.A.                 ATTN: LEGAL DEPT.                   800 WALNUT STREET F0005-044                                                        DES MOINES       IA      50309
  Wiley Companies                       Attn: Legal Department              545 Walnut Steet                                                                   Coshocton        OH      43812




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                                                Exhibit B




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                                                                                      Exhibit B
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                      Name                                       Attention 1                                        Attention 2                                     Email
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Francisco Costa and FCIP HoldCo LLC             c/o Lewis Brisbois Bisgaard & Smith LLP         Rolando A. Diaz                                         Ron.Diaz@lewisbrisbois.com
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Givaudan SA                                     c/o Cross & Simon, LLC                          Attn: Christopher P. Simon, Kevin S. Mann               kmann@crosslaw.com
Givaudan SA                                     c/o Nixon Peabody LLP                           Attn: Christopher J. Fong                               cfong@nixonpeabody.com
Givaudan SA                                     c/o Nixon Peabody LLP                           Attn: Richard C. Pedone                                 rpedone@nixonpeabody.com
                                                                                                                                                        asynnott@paulweiss.com
                                                c/o Paul, Weiss, Rifkind, Wharton & Garrison                                                            jweber@paulweiss.com
Givaudan SA                                     LLP                                             Attn: Aidan Synnott, John T. Weber, Lara Luo            lluo@paulweiss.com

Harris County                                   c/o Linebarger Goggan Blair & Sampson, LLP Attn: Tara L. Grundemeier                                 houston_bankruptcy@lgbs.com
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                                                                                                                                                     josef.mintz@blankrome.com
Jonathan Van Ness and JVN Entertainment, Inc.   c/o Blank Rome LLP                              Attn: Josef W. Mintz, B. Nelson Sproat               nelson.sproat@blankrome.com
Klein LLC                                       Attn: Julia B. Klein                                                                                 klein@kleinllc.com
                                                                                                                                                     jcyrulnik@cf-llp.com
Lavvan, Inc.                                    c/o Cyrulnik Fattaruso LLP                      Attn: Jason Cyrulnik and Paul Fattaruso              pfattaruso@cf-llp.com
Lavvan, Inc.                                    c/o Richards, Layton & Finger, P.A              Attn: Russell C. Silberglied and Emily R. Mathew     silberglied@rlf.com

In re: Amyris, Inc., et al.
Case No. 23-11131 (TMH)                                                                                                                                                          Page 1 of 2

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                                                                                            Exhibit B
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                       Name                                             Attention 1                                         Attention 2                                    Email
                                                                                                                                                           dstern@ktbslaw.com
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M. Freddie Reiss                                       c/o KTBS Law LLP                               Maoz                                                 nmaoz@ktbslaw.com
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                                                                                                                                                           mconlan@gibbonslaw.com
Nicole L. Kelsey                                       c/o Gibbons P.C.                               Attn: Mark B. Conlan, Samuel I. Portnoy              sportnoy@gibbonslaw.com
NTT Data Americas, Inc.                                c/o STREUSAND, LANDON, OZBURN &                Attn: Sabrina L. Streusand                           streusand@slollp.com
Office of the United States Trustee for the District
of Delaware                                            U. S. Department of Justice                    Attn: John Henry Schanne, II                         john.schanne@usdoj.gov
                                                                                                                                                           csamis@potteranderson.com
                                                                                                      Attn: Christopher M. Samis, Katelin A. Morales and   kmorales@potteranderson.com
Official Committee of Unsecured Creditors              c/o Potter Anderson & Corroon LLP              Sameen Rizvi                                         srizvi@potteranderson.com
                                                                                                                                                           gregory.pesce@whitecase.com
Official Committee of Unsecured Creditors              c/o White and Case LLP                         Attn: Gregory F. Pesce and Andrew F. O’Neill         aoneill@whitecase.com
Oracle America, Inc.                                   c/o Buchalter, A Professional Corporation      Attn: Shawn M. Christianson                          schristianson@buchalter.com
Palm Beach Holdings 3940 LLC                           c/o Charles E. Boulbol, P.C.                   Attn: Charles E. Boulbol                             rtrack@msn.com
                                                       c/o Benesch Friedlander Coplan & Aronoff                                                            kcapuzzi@beneschlaw.com
Panaya Ltd.                                            LLP                                            Attn: Kevin M. Capuzzi, Steven L. Walsh              swalsh@beneschlaw.com
Sartorius Stedim North America, Inc.                   Attn: Matthew Lessler                                                                               Matthew.Lessler@Sartorius.com
                                                       c/o Barack Ferrazzano Kirschbaum &                                                                  nathan.rugg@bfkn.com
Sephora USA, Inc.                                      Nagelberg LLP                                  Attn: Nathan Q. Rugg, Alexander F. Berk              alexander.berk@bfkn.com
Thermo Fisher Scientific Inc.                          Attn: Adam Hiller                                                                                   ahiller@adamhillerlaw.com
                                                                                                                                                           bmanne@tuckerlaw.com
Thermo Fisher Scientific Inc.                     c/o Tucker Arensberg, P.C.                          Attn: Beverly Weiss Manne and Maribeth Thomas        mthomas@tuckerlaw.com
U.S. Bank National Association, as Trustee for
Convertible Notes                                 Attn: Justin L. Shearer                                                                                  Justin.Shearer@usbank.com
U.S. Bank Trust Company, National Association, as
Trustee                                           c/o Greenberg Traurig, LLP                          Attn: Anthony W. Clark and Dennis A. Meloro          Dennis.Meloro@gtlaw.com
                                                                                                                                                           FiscoM@gtlaw.com
U.S. Bank Trust Company, National Association, as                                                     Attn: Michael B. Fisco, Eric J. Howe & Whitney A.    HoweE@gtlaw.com
Trustee                                           c/o Greenberg Traurig, LLP                          Mark                                                 Whitney.Mark@gtlaw.com
                                                  c/o Tannenbaum Helpern Syracuse &                                                                        davis@thsh.com
Universidade Católica Portuguesa                  Hirschtritt LLP                                     Attn: Wayne H. Davis, Haylie Gordon                  gordon@thsh.com
Waste Management                                  c/o Monzack Mersky and Browder, P.A.                Attn: Rachel B. Mersky                               rmersky@monlaw.com
                                                                                                                                                           jacketheridge@organictech.com
Wiley Companies                                         Attn: Joshua Wiley                                                                                 Joshua.Wiley@WileyCo.com
Wiley Companies                                        c/o Morris James LLP                           Attn: Carl N. Kunz, III                              ckunz@morrisjames.com




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                                                Exhibit C




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                                                                                                                                  Exhibit C
                                                                                                                            Served via First-Class Mail



                      Name                                         Attention                                   Address 1                                   Address 2                              Address 3                      City       State      Zip        Country
Allog Participacoes, Ltda                       Attn: Rodrigo Portes                       Rua Doutor Pedro Ferreira                           333 A5 SL503                                                              CItajal            SC    88301       Brazil
Anesma Group, LLC                                                                          1180 San Carlos Avenue, #717                                                                                                  San Carlos         CA    94070
Anesma Group, LLC                               c/o Goodwin Procter LLP                    3 Embarcadero Center                                28th floor                                                                San Francisco      CA    94111
Anjo Ventures, LLC                                                                         1180 San Carlos Avenue                              #717                                                                      San Carlos         CA    94070
Anjo Ventures, LLC                              c/o Goodwin Procter LLP                    3 Embarcadero Center                                28th floor                                                                San Francisco      CA    94111
ANVISA                                                                                     5402 Sia Trecho 5 Área Especial 57                                                                                            Brasilia           FD    70000-000   Brazil
BEIJING JIANXUN MEDICAL SCIENCE &
TECHNOLOGY                                                                                 Bei Jing Shi                                                                                                                  Tong Zhou Qu            101100     China
BIORIUS                                                                                    Avenue Leonard de Vinci 14                                                                                                    Wavre                   1300       Belgium
BIORIUS                                                                                    Shelton Street                                                                                                                London                  71WC2H 9JQ United Kingdom
C T Corporation System, as Representative                                                  Attn: SPRS                                            330 N Brand Blvd, Suite 700                                             Glendale           CA   91203
Cosan U.S. Inc.                                 Attn: Lineu Paulo Moran Filho              2711 Centerville Road                                 Ste 400                                                                 New Castle         DE   19808
Crestmark Equipment Finance, Inc.                                                          40950 Woodward Avenue, Suite 201                                                                                              Bloomfield Hills   MI   48304
Crestmark Equipment Finance, Inc.                                                          5480 Corporate Drive                                  Ste 350                                                                 Troy               MI   48098
CTNBIO                                                                                     South Police Sector - SPO, Area 5, Block 3            Block B, Ground Floor. Room T-08                                        Brasilia           FD   70610-200  Brazil
Data Sales Co., Inc.                                                                       3450 W. Burnsville Parkway                                                                                                    Burnsville         MN   55337
DE Lage Landen Financial Services, Inc.                                                    1111 Old Eagle School Road                                                                                                    Wayne              PA   19087
Delaware State Treasury                                                                    820 Silver Lake Blvd., Suite 100                                                                                              Dover              DE   19904
Department of Agriculture                                                                  1400 Independence Ave., S.W.                                                                                                  Washington         DC   20250
Drug Enforcement Administration                                                            8701 Morrissette Drive                                                                                                        Springfield        VA   22152
DSM Finance B.V.                                Attn: Michael Wahl and Vivian Huang        HET Overloon 1                                                                                                                Heerlen            NL   6411TE     Netherlands
DSM Finance B.V.                                c/o Latham & Watkins LLP                   330 North Wabash Avenue                               Suite 3800                                                              Chicago            IL   60611
DTS                                                                                        U 5 2 Pittwin Rd                                                                                                              North Capalaba     QS   4157       Australia
ECHA                                                                                       P.O. Box 400                                                                                                                  Helsinki                FI-00121   Finland
EFSA                                                                                       Via Carlo Magno 1A                                                                                                            Parma                   43126      Italy
Employment Development Department                                                          PO Box 826880                                                                                                                 Sacramento         CA   94280
Environment Canada                                                                         105 Mcgill St                                         4th Fl                                                                  Montreal           QC   H2Y 2E7    Canada
Environmental Protection Agency                                                            1200 Pennsylvania Avenue, N.W.                                                                                                Washington         DC   20460
Eplus Technology, Inc.                                                                     13595 Dulles Technology Drive                                                                                                 Herndon            VA   20171
Food and Drug Administration                                                               10903 New Hampshire Avenue                                                                                                    Silver Spring      MD   20993
Food Science Solutions                                                                     28 Geneva Ave                                                                                                                 Toronto            ON   M5A 2J8    Canada
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Secured Parties                                 c/o Goodwin Procter LLP                    Skorostensky andz Sari Rosenfeld                      620 Eighth Avenue                  The New York Times Building          New York           NY   10018
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INTERTEK                                                                                   33 Cavendish Sq                                                                                                               London             ES   W1G 0PS      United Kingdom
                                                                                           Longang District No 3 Building Yuanzheng Science &
INTERTEK                                                                                   Technology Park Wuhe Ave North Bantian St          No 4012                                                                    Shenzhen           GD   518100       China
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Office of the United States Trustee for the
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Sartorius Stedim North America, Inc. Attn: Matthew Lessler                                 565 Johnson Ave                                                                                                               Bohemia            NY   11746
SCHOTTENFELD OPPORTUNITIES FUND II,
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